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           IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION


IN RE GEORGIA SENATE BILL 202             Master Case No.:
                                          1:21-MI-55555-JPB



THE CONCERNED BLACK CLERGY
OF METROPOLITAN ATLANTA,                  Civil Action No.:
INC., a Georgia nonprofit corporation,    1:21-CV-01728-JPB
et al.,

              Plaintiffs,

                v.

BRAD RAFFENSPERGER, in his
official capacity as the Georgia
Secretary of State, et al.,

              Defendants,

REPUBLICAN NATIONAL
COMMITTEE, et al.,

              Intervenor-Defendants.


      DEFENDANTS’ ANSWER TO PLAINTIFFS’ COMPLAINT
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                             INTRODUCTION

      SB 202 updates Georgia’s reasonable, nondiscriminatory election rules

in response to lessons learned from challenges to the 2018 and 2020 elections.

And SB 202 provides procedural safeguards of the type necessary to restore

confidence in the integrity of Georgia elections for voters on all sides of the

political spectrum. The reforms are also designed to streamline the process of

conducting elections in Georgia and reduce the burdens on elections officials.

Contrary to the Complaint, SB 202 expands ballot access beyond previous

statutory limits.

      Ignoring this expanded access created by SB 202, the Complaint asks the

Court to make permanent various emergency practices that were temporarily

permitted by the State during the 2020 and 2021 elections due to the

COVID-19 pandemic. Yet there is no basis to do so, as Georgia’s election laws,

as amended by SB 202, expand every voter’s access to voting.

      Tellingly, the Complaint focuses largely on practices most susceptible to

abuse, such as the solicitation and harvesting of absentee ballots, and claims

that regulation of those practices is “discriminatory.” But there is nothing

discriminatory about restricting practices that are widely recognized to

undermine ballot integrity. Moreover, the claim of discrimination rests on the

false assumption that demographic groups Plaintiffs claim to represent are
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either less competent or less honest than other demographic groups in the

Georgia electorate.

      Plaintiffs also complain about past long lines and polling place closures.

But those resulted from decisions in the Democrat-dominated counties where

those problems occurred and have nothing to do with SB 202’s reforms, which

are designed to reduce similar problems in the future.

      In short, Plaintiffs’ claims should be rejected because this Court’s role

“does not extend to second-guessing and interfering with a State’s reasonable,

nondiscriminatory election rules.” New Ga. Project v. Raffensperger, 976 F.3d

1278, 1284 (11th Cir. 2020). That is surely so when the alternative is judicial

enactment of Plaintiffs’ partisan policy goals.

                        AFFIRMATIVE DEFENSES

                         First Affirmative Defense

      Plaintiffs fail to state a claim upon which relief may be granted because,

among other things, SB 202 does not have a discriminatory purpose or intent.

                        Second Affirmative Defense

      Plaintiffs lack standing to bring this action.

                         Third Affirmative Defense

      Plaintiffs’ claims are barred by sovereign immunity and the Eleventh

Amendment to the United States Constitution.

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                        Fourth Affirmative Defense

      Plaintiffs have not been subjected to the deprivation of any right,

privilege, or immunity under the Constitution or laws of the United States.

                         Fifth Affirmative Defense

      Plaintiffs failed to join necessary and indispensable parties.

                         Sixth Affirmative Defense

      Plaintiffs’ requested relief is barred by the Purcell principle.

                       Seventh Affirmative Defense

      Plaintiffs’ Voting Rights Act Section 2 claims are barred because there is

no private right of action under Section 2.

                        Eighth Affirmative Defense

      Defendants reserve the right to amend their defenses and to add

additional ones, including lack of subject matter jurisdiction based on mootness

or ripeness, as further information becomes available in discovery.

                                 RESPONSES

      Defendants respond to the separately numbered paragraphs and prayer

for relief contained in the Complaint below. To the extent that any allegation

is not admitted herein, it is denied. Moreover, to the extent that the Complaint

refers to or quotes from external documents, statutes, or other sources,

Defendants may refer to such materials for their accurate and complete

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contents; however, Defendants’ references are not intended to be, and should

not be construed to be, an admission that the cited materials: (a) are correctly

cited or quoted by Plaintiffs; (b) are relevant to this, or any other, action; or

(c) are admissible in this, or any other, action.

      Defendants answer as follows:

                            I.   INTRODUCTION 1

      1.    Defendants admit that the State of Georgia enacted The Election

Integrity Act of 2021 (SB 202) in March 2021. The remainder of Paragraph 1

contains Plaintiffs’ characterization of SB 202, its legislative history, and

purpose, not allegations of fact, to which no response is required. By way of

further response, Defendants respectfully refer the Court to SB 202 for the

most accurate statement of its purpose. To the extent Plaintiffs’ inflammatory

rhetoric could possibly be construed as allegations of fact, Defendants deny

those allegations.

      2.    Paragraph 2 contains Plaintiff’s characterization of voter and

population data, not allegations of fact, to which no response is required. By

way of further response, Defendants respectfully refer the Court to the



1 For ease of reference, Defendants refer to Plaintiffs’ headings and titles, but
to the extent those headings and titles could be construed to contain factual
allegations, those allegations are denied.

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underlying voter and population data for a full and accurate statement of their

contents and deny any allegations inconsistent therewith.

      3.     Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations about Plaintiffs in Paragraph 3.

The remainder of this paragraph contains Plaintiffs’ legal conclusions, not

allegations of fact, to which no response is required. To the extent a response

is deemed necessary, Defendants deny the allegations contained in this

paragraph.

      4.     The   first   sentence   of       Paragraph   4   contains   Plaintiffs’

characterization of election results, not allegations of fact, to which no response

is required.   Defendants admit the allegations in the second and third

sentences of this paragraph.

      5.     Defendants admit that there were multiple methods to cast ballots

in the 2020 elections. Defendants admit the allegations contained in the last

two sentences of Paragraph 5. The remainder of this paragraph contains

Plaintiffs’ characterization of election results, not allegations of fact, to which

no response is required.

      6.     The first two sentences of Paragraph 6 contain Plaintiff’s

characterization of voter data, not allegations of fact, to which no response is




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required. Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the remaining allegations in this paragraph.

      7.    Defendants admit that a Democratic candidate for President won

the state of Georgia, and the allegations contained in the final sentence of this

paragraph. Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the remaining allegations contained in

Paragraph 7.

      8.    Defendants deny the allegations in Paragraph 8.

      9.    Defendants deny the allegations stated or implied in Paragraph 9.

      10.   Defendants deny the allegations in the first two sentences of

Paragraph 10.      The remainder of this paragraph contains Plaintiffs’

characterization of legal actions, recounts, and a statement allegedly made by

Secretary Raffensperger, not allegations of fact, to which no response is

required. By way of further answer, Defendants respectfully refer the Court

to the referenced legal actions, recounts, and letter for a full and accurate

statement of their contents and deny any allegation inconsistent therewith.

      11.   Paragraph 11 contains Plaintiff’s characterization of a statement

allegedly made by Representative Ralston, not allegations of fact, to which no

response is required. By way of further answer, Defendants respectfully refer




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the Court to the referenced statement for a full and accurate statement of its

contents and deny any allegation inconsistent therewith.

      12.    Defendants admit that multiple recounts, audits, and court cases

were conducted and that they did not alter the outcomes of any contests. The

remaining portions of Paragraph 12 contain Plaintiff’s characterization of the

same and associated statements, not allegations of fact, to which no response

is required. By way of further response, Defendants respectfully refer the

Court to the referenced statements for a full and accurate statement of their

contents and deny any allegations in consistent therewith. The last sentence

of this paragraph contains a legal conclusion to which no response is required.

                     II.   JURISDICTION AND VENUE

      13.    Defendants admit that this Court has federal-question jurisdiction

for claims arising under the Voting Rights Act. State Defendants deny the

remaining allegations in Paragraph 13.

      14.    Paragraph 14 sets forth legal conclusions to which no response is

required, and Defendants therefore deny them. Defendants deny the

remaining allegations in this Paragraph.

      15.    Paragraph 15 sets forth legal conclusions to which no response is

required, and Defendants therefore deny them.       The cited legal authority

speaks for itself.

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      16.   Defendants admit the allegations contained in Paragraph 16.

      17.   To the extent the Court has jurisdiction over this matter,

Defendants admit that venue is proper in this Court.

                              III.   PARTIES

      18.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 18.

      19.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 19.

      20.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 20.

      21.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 21. To

the extent that this paragraph includes Plaintiffs’ characterization of the

effects of SB 202, not allegations of fact, no response is required to those

characterizations.

      22.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 22.

      23.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 23.




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      24.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 24.

      25.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 25.

      26.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 26. To

the extent that this paragraph includes Plaintiffs’ characterization of the

effects of SB 202, not allegations of fact, no response is required to those

characterizations.

      27.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 27.

      28.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 28.

      29.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 29.

      30.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 30.

      31.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 31.




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      32.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 32. To

the extent that this paragraph includes Plaintiffs’ characterization of the

effects of SB 202, not allegations of fact, no response is required to those

characterizations.

      33.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 33.

      34.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 34.

      35.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 35.

      36.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 36.

      37.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 37.

      38.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 38. To

the extent that this paragraph includes Plaintiffs’ characterization of the

effects of SB 202, not allegations of fact, no response is required to those

characterizations.

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      39.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 39.

      40.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 40.

      41.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 41. To

the extent that this paragraph includes Plaintiffs’ characterization of the

effects of SB 202, not allegations of fact, no response is required to those

characterizations.

      42.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 42.

      43.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 43.

      44.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 44.

      45.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 45. To

the extent that this paragraph includes Plaintiffs’ characterization of the

effects of SB 202, not allegations of fact, no response is required to those

characterizations.

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      46.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 46.

      47.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 47.

      48.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 48.

      49.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 49. To

the extent that this paragraph includes Plaintiffs’ characterization of the

effects of SB 202, not allegations of fact, no response is required to those

characterizations.

      50.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 50.

      51.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 51.

      52.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 52. To

the extent that this paragraph includes Plaintiffs’ characterization of the

effects of SB 202, not allegations of fact, no response is required to those

characterizations.

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      53.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 53.

      54.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 54.

      55.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 55. To

the extent that this paragraph includes Plaintiffs’ characterization of the

effects of SB 202, not allegations of fact, no response is required to those

characterizations.

      56.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 56.

      57.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 57.

      58.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 58.

      59.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 59. To

the extent that this paragraph includes Plaintiffs’ characterization of the

effects of SB 202, not allegations of fact, no response is required to those

characterizations.

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      60.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 60.

      61.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 61.

      62.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 62. To

the extent that this paragraph includes Plaintiffs’ characterization of the

effects of SB 202, not allegations of fact, no response is required to those

characterizations.

      63.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 63.

      64.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 64.

      65.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 65. To

the extent that this paragraph includes Plaintiffs’ characterization of the

effects of SB 202, not allegations of fact, no response is required to those

characterizations.




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      66.    Defendants admit that Defendant Brad Raffensperger is the

Georgia Secretary of State. The remainder of Paragraph 66 contains legal

conclusions, not allegations of fact, to which no response is required.

      67.    Defendants deny the allegations contained in the first sentence of

Paragraph 67. By way of further response, Defendants aver that the current

State Election Board Members are Sara Ghazal, Matthew Mashburn, Edward

Lindsey, and Janice Johnston. The remainder of this paragraph contains

Plaintiffs’ legal conclusions, not allegations of fact, to which no response is

required.

                      IV.   FACTUAL ALLEGATIONS

       Georgia Has a History of Racial Discrimination in Voting

      68.    Defendants admit that events have occurred in the State

previously that have harmed racial minorities but deny any implication that

these events are relevant to the claims brought in this action. The remainder

of Paragraph 68 contains Plaintiff’s characterization of the cited cases, not

allegations of fact, to which no response is required.      By way of further

response, Defendants respectfully refer the Court to those cases for a full and

accurate statement of their contents and deny any allegations inconsistent

therewith.




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      69.   Defendants admit that events have occurred in the State

previously that have harmed racial minorities but deny any implication that

these events are relevant to the claims brought in this action. The remainder

of Paragraph 69 contains Plaintiff’s legal conclusions, not allegations of fact,

to which no response is required.

      70.   The first two sentences of Paragraph 70 contain Plaintiffs’

characterization of the cited laws, not allegations of fact, to which no response

is required. By way of further response, Defendants respectfully refer the

Court to the cited laws for a full and accurate statement of their contents and

deny any allegation inconsistent therewith.        Defendants lack sufficient

knowledge or information with which to form a belief as to the truth of the

remaining allegations contained in this paragraph.

      71.   Paragraph 71 contains Plaintiffs’ characterization of the cited

constitutional amendment, not allegations of fact, to which no response is

required. By way of further response, Defendants respectfully refer the Court

to the cited constitutional amendment for a full and accurate statement of its

contents and deny any allegation inconsistent therewith.

      72.   Paragraph 72 contains Plaintiffs’ characterization of the cited

laws, not allegations of fact, to which no response is required. By way of

further response, Defendants respectfully refer the Court to the cited laws for

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a full and accurate statement of their contents and deny any allegation

inconsistent therewith.

      73.   Paragraph 73 contains Plaintiffs’ legal conclusions, not allegations

of fact, to which no response is required.

      74.   Paragraph 74 contains Plaintiffs’ characterization of the cited

laws, not allegations of fact, to which no response is required. By way of

further response, Defendants respectfully refer the Court to the cited laws for

a full and accurate statement of their contents and deny any allegation

inconsistent therewith.

      75.   Defendants admit that the State of Georgia was previously subject

to the preclearance requirement of Section 5 of the Voting Rights Act. The

remainder of Paragraph 75 contains Plaintiff’s characterization of authority

and legal conclusions, not allegations of fact, to which no response is required.

By way of further response, Defendants respectfully refer the Court to the cited

authority for a full and accurate statement of their contents and deny any

allegations inconsistent therewith.

      76.   Defendants admit that the State of Georgia was previously subject

to the preclearance requirement of Section 5 of the Voting Rights Act. The

remainder of Paragraph 76 contains Plaintiff’s characterization of authority

and legal conclusions, not allegations of fact, to which no response is required.

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By way of further response, Defendants respectfully refer the Court to the cited

authority for a full and accurate statement of their contents and deny any

allegations inconsistent therewith.

      77.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 77.

      78.   Paragraph 78 contains Plaintiffs’ legal conclusions, not allegations

of fact, to which no response is required.

      79.   Defendants deny the allegations contained in Paragraph 79.

      80.   Paragraph 80 contains Plaintiffs’ characterization of election laws,

not allegations of fact, to which no response is required. By way of further

response, Defendants respectfully refer the Court to the referenced election

laws for a full and accurate statement of their contents and deny any

allegations inconsistent therewith.          Defendants deny the remaining

allegations contained in this paragraph.

      81.   Defendants deny the allegations contained in Paragraph 81.

            Racial and Ethnic Demographics of Voting in Georgia

      82.   Defendants deny the allegations contained in the final sentence of

Paragraph 82.     Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the remaining allegations contained in

this paragraph.

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      83.   Defendants admit that the number of Black and Hispanic voters

on its registration rolls has grown in recent years. Defendants lack sufficient

knowledge and information with which to form a belief as to the truth of the

remaining allegations contained in Paragraph 83.

      84.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in this paragraph.

      85.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 85.

      86.   Defendants lack sufficient knowledge and information with which

to form a belief as to the truth of the remaining allegations contained in

Paragraph 86.

      87.   Defendants lack sufficient knowledge and information with which

to form a belief as to the truth of the remaining allegations contained in

Paragraph 87.

         The General Assembly Rushed SB 202 Through the
Legislative Process, Ignoring the Obvious Impact on Georgia Voters,
                      Especially Voters of Color

      88.   Paragraph 88 contains Plaintiffs’ characterization of SB 202 and

its legislative history, not allegations of fact, to which no response is required.

By way of further response, Defendants respectfully refer the Court to the




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relevant legislative history for a full and accurate statement of its contents and

deny any allegations inconsistent therewith.

      89.   Paragraph 89 contains Plaintiffs’ characterization of SB 202 and

its legislative history, not allegations of fact, to which no response is required.

By way of further response, Defendants respectfully refer the Court to the

relevant legislative history for a full and accurate statement of its contents and

deny any allegations inconsistent therewith.

      90.   Paragraph 90 contains Plaintiffs’ characterization of SB 202 and

its legislative history, not allegations of fact, to which no response is required.

By way of further response, Defendants respectfully refer the Court to the

relevant legislative history for a full and accurate statement of its contents and

deny any allegations inconsistent therewith.

      91.   Defendants deny the allegations in the first sentence of Paragraph

91. The remainder of this paragraph includes Plaintiffs’ characterization of

statements made by Rep. Barry Fleming, to which no answer is required. By

way of further answer, Defendants refer the Court to those statements for a

complete and accurate representation of their contents and deny all allegations

inconsistent therewith.

      92.   The    first   sentence   of    Paragraph   92   contains   Plaintiffs’

characterization of various accusations and legal actions that followed the

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2020 election, not allegations of fact, to which no response is required. By way

of further response, Defendants respectfully refer the Court to the referenced

materials for a full and accurate statement of their contents and deny any

allegation inconsistent therewith. The remainder of this paragraph consists

of Plaintiffs’ characterization of several statements allegedly made by

Secretary Raffensperger, not allegations of fact, to which no response is

required. By way of further response, Defendants respectfully refer the Court

to the referenced statements for a full and accurate statement of their contents

and deny any allegations inconsistent therewith.

      93.   The   first   portion   of    Paragraph   93   contains   Plaintiffs’

characterizations of statements allegedly made by Secretary Raffensperger,

not allegations of fact, to which no response is required. By way of further

response, Defendants respectfully refer the Court to the referenced statement

for a full and accurate statement of their contents. The remainder of this

paragraph contains Plaintiffs’ characterization of SB 202, not allegations of

fact, to which no response is required. By way of further response, Defendants

respectfully refer the Court to the text of SB 202 for a full and accurate

statement of their contents and deny any allegations inconsistent therewith.

      94.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 94.

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      95.   Paragraph 95 includes Plaintiffs’ characterization of statements

allegedly made by Governor Kemp and Lieutenant Governor Duncan to which

no answer is required. By way of further answer, Defendants respectfully refer

the Court to those statements for a full and accurate statement of their

contents, and deny any allegation inconsistent therewith.

      96.   Paragraph 96 contains Plaintiffs’ characterization of lawsuits and

legal conclusions, not allegations of fact, to which no response is required. By

way of further answer, Defendants respectfully refer the Court to the records

in those lawsuits for a full and accurate statement of their contents, and deny

any allegation inconsistent therewith.

      97.   Paragraph 97 contains Plaintiffs’ characterization of SB 202 and

its legislative history, not allegations of fact, to which no response is required.

By way of further response, Defendants respectfully refer the Court to the

relevant legislative history for a full and accurate statement of its contents and

deny any allegations inconsistent therewith.

      98.   Paragraph 98 contains Plaintiffs’ characterization of SB 202 and

its legislative history, not allegations of fact, to which no response is required.

By way of further response, Defendants respectfully refer the Court to the

relevant legislative history for a full and accurate statement of its contents and

deny any allegations inconsistent therewith.

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      99.   Paragraph 99 contains Plaintiffs’ characterization of SB 202 and

its legislative history, not allegations of fact, to which no response is required.

By way of further response, Defendants respectfully refer the Court to the

relevant legislative history for a full and accurate statement of its contents and

deny any allegations inconsistent therewith.

      100. Paragraph 100 contains Plaintiffs’ characterization of SB 202 and

its legislative history, not allegations of fact, to which no response is required.

By way of further response, Defendants respectfully refer the Court to the

relevant legislative history for a full and accurate statement of its contents and

deny any allegations inconsistent therewith.

      101. Paragraph 101 contains Plaintiffs’ characterization of SB 202 and

its legislative history, not allegations of fact, to which no response is required.

By way of further response, Defendants respectfully refer the Court to the

relevant legislative history for a full and accurate statement of its contents and

deny any allegations inconsistent therewith.

      102. Paragraph 102 contains Plaintiffs’ characterization of SB 202 and

its legislative history, not allegations of fact, to which no response is required.

By way of further response, Defendants respectfully refer the Court to the

relevant legislative history for a full and accurate statement of its contents and

deny any allegations inconsistent therewith.

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      103. Paragraph 103 contains Plaintiffs’ characterization of SB 202 and

its legislative history, not allegations of fact, to which no response is required.

By way of further response, Defendants respectfully refer the Court to the

relevant legislative history for a full and accurate statement of its contents and

deny any allegations inconsistent therewith.

      104. Paragraph 104 contains Plaintiffs’ characterization of SB 202 and

its legislative history, not allegations of fact, to which no response is required.

By way of further response, Defendants respectfully refer the Court to the

relevant legislative history for a full and accurate statement of its contents and

deny any allegations inconsistent therewith.

      105. Paragraph 105 contains Plaintiffs’ characterization of SB 202 and

its legislative history, not allegations of fact, to which no response is required.

By way of further response, Defendants respectfully refer the Court to the

relevant legislative history for a full and accurate statement of its contents and

deny any allegations inconsistent therewith.

      106. Paragraph 106 contains Plaintiffs’ characterization of SB 202 and

its legislative history, not allegations of fact, to which no response is required.

By way of further response, Defendants respectfully refer the Court to the

relevant legislative history for a full and accurate statement of its contents and

deny any allegations inconsistent therewith.

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      107. Paragraph 107 contains Plaintiffs’ characterization of SB 202 and

its legislative history, not allegations of fact, to which no response is required.

By way of further response, Defendants respectfully refer the Court to the

relevant legislative history for a full and accurate statement of its contents and

deny any allegations inconsistent therewith.

      108. Paragraph 108 contains Plaintiffs’ characterization of SB 202 and

its legislative history, not allegations of fact, to which no response is required.

By way of further response, Defendants respectfully refer the Court to the

relevant legislative history for a full and accurate statement of its contents and

deny any allegations inconsistent therewith.

      109. Paragraph 109 contains Plaintiffs’ characterization of the

legislative process, not allegations of fact, to which no response is required. By

way of further response, Defendants respectfully refer the Court to the

relevant legislative history for a full and accurate statement of its contents and

deny any allegations inconsistent therewith.

 SB 202 Places Undue Burdens on the Exercise of the Right to Vote,
       Especially for Black Voters and Other Voters of Color

      110. Defendants deny the allegations contained in Paragraph 110.

      111. Defendants deny the allegations in Paragraph 111.




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            SB 202 Erects New Obstacles to Absentee Voting

      112. Paragraph     112   contains     Plaintiffs’   legal   conclusions    and

characterization of SB 202, not allegations of fact, to which no response is

required. By way of further response, Defendants respectfully refer the Court

to the cited authority for a full and accurate statement of their contents and

deny any allegations inconsistent therewith.

      113. Paragraph     113   contains     Plaintiff’s   legal   conclusions,   not

allegations of fact, to which no response is required.

      114. Paragraph     114   contains     Plaintiffs’   legal   conclusions    and

characterization of SB 202, not allegations of fact, to which no response is

required. By way of further response, Defendants respectfully refer the Court

to the cited authority for a full and accurate statement of their contents and

deny any allegations inconsistent therewith.

      115. Paragraph     115   contains     Plaintiffs’   legal   conclusions    and

characterization of SB 202, not allegations of fact, to which no response is

required. By way of further response, Defendants respectfully refer the Court

to the cited authority for a full and accurate statement of their contents and

deny any allegations inconsistent therewith.

      116. Paragraph     116   contains     Plaintiffs’   legal   conclusions    and

characterization of SB 202, not allegations of fact, to which no response is

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required. By way of further response, Defendants respectfully refer the Court

to the cited authority for a full and accurate statement of their contents and

deny any allegations inconsistent therewith.

      117. Paragraph     117    contains     Plaintiffs’   legal   conclusions   and

characterization of SB 202, not allegations of fact, to which no response is

required. By way of further response, Defendants respectfully refer the Court

to the cited authority for a full and accurate statement of their contents and

deny any allegations inconsistent therewith.

      118. Paragraph      118     contains      Plaintiffs’    legal    conclusions,

characterization of SB 202, and characterization of voting data, not allegations

of fact, to which no response is required.          By way of further response,

Defendants respectfully refer the Court to the cited material for a full and

accurate statement of their contents and deny any allegations inconsistent

therewith.

      119. Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 119.

      120. Defendants deny the allegations in Paragraph 120.

      121. Defendants deny the allegations in Paragraph 121.




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                    SB 202 Limits Access to Drop Boxes

      122. Defendants admit that during the COVID-19 pandemic, some

voters were able to use drop boxes to return their absentee ballots under an

emergency rule that has since expired. By way of further response, Defendants

aver that SB 202 statutorily provided for drop boxes for the first time.

      123. Defendants admit that during the COVID-19 pandemic, some

voters were able to use drop boxes to return their ballots. By way of further

response, State Defendants aver that SB 202 statutorily provided for drop

boxes for the first time. Defendants deny the remaining allegations contained

in Paragraph 123.

      124. Defendants lack sufficient knowledge about the allegations in

Paragraph 124 with which to form a belief as to the truth of those allegations.

      125. Paragraph 125 contains Plaintiffs’ characterization of SB 202,

rather than allegations of fact, to which no response is required. To the extent

a response is deemed necessary, Defendants deny Plaintiff’s characterization.

By way of further response, Defendants respectfully refer the Court to the text

of SB 202 for a full and accurate statement of its contents and its provisions

and deny any allegations inconsistent therewith.

      126. Defendants lack sufficient knowledge or information with which to

form a belief as to the accuracy of the allegations contained in Paragraph 126.

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      127. Paragraph 127 contains Plaintiffs’ characterization of SB 202,

rather than allegations of fact, to which no response is required. To the extent

a response is deemed necessary, Defendants deny Plaintiff’s characterization.

By way of further response, Defendants respectfully refer the Court to the text

of SB 202 for a full and accurate statement of its contents and its provisions

and deny any allegations inconsistent therewith.

      128. The first two sentences of Paragraph 128 contain Plaintiffs’

characterization of SB 202, rather than allegations of fact, to which no

response is required. By way of further response, Defendants respectfully refer

the Court to the text of SB 202 for a full and accurate statement of its contents

and its provisions and deny any allegations inconsistent therewith. By way of

further answer, Defendants lack sufficient knowledge about the allegations in

the last sentence with which to form a belief as to the truth of those allegations.

      129. Paragraph 129 contains Plaintiffs’ legal conclusions as well as

their characterization of SB 202, rather than allegations of fact, to which no

response is required.      To the extent a response is deemed necessary,

Defendants deny Plaintiffs’ conclusions and characterization.          By way of

further response, Defendants respectfully refer the Court to the text of SB 202

for a full and accurate statement of its contents and its provisions and deny

any allegations inconsistent therewith.

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      130. Defendants deny the allegations contained in Paragraph 130.

      131. Defendants deny the allegations contained in Paragraph 131.

      132. Defendants deny the allegations contained in Paragraph 132.

                  SB 202 Prohibits Mobile Voting Units

      133. Paragraph     133   contains     Plaintiff’s   legal   conclusions,   not

allegations of fact, to which no response is required.

      134. Defendants admit that Fulton County utilized two mobile voting

units for early voting in the 2020 general election, which was the first and only

time mobile voting units have ever been utilized by any Georgia county.

Defendants lack sufficient knowledge or information with which to form a

belief as to the accuracy of the remaining allegations in Paragraph 134.

      135. Paragraph 135 contains Plaintiffs’ legal conclusions as well as

their characterization of SB 202, rather than allegations of fact, to which no

response is required. By way of further response, Defendants respectfully refer

the Court to the text of SB 202 for a full and accurate statement of its contents

and its provisions and deny any allegations inconsistent therewith.

Defendants deny that Plaintiffs or their members make “regular use of mobile

voting units.”

      136. Defendants deny the allegations contained in Paragraph 136.

      137. Defendants deny the allegations contained in Paragraph 137.

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             SB 202 Restricts Early Voting in Runoff Elections

      138. Paragraph 138 contains Plaintiffs’ legal conclusions as well as

their characterization of SB 202, rather than allegations of fact, to which no

response is required.     To the extent a response is deemed necessary,

Defendants deny Plaintiffs’ conclusions and characterization.       By way of

further response, Defendants respectfully refer the Court to the text of SB 202

for a full and accurate statement of its contents and its provisions and deny

any allegations inconsistent therewith.

      139. Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 139.

      140. Defendants deny the allegations contained in Paragraph 140.

      141. Defendants deny the allegations contained in Paragraph 141.

      142. Defendants deny the allegations contained in Paragraph 142.

             SB 202 Makes “Line Warming” a Criminal Offense

      143. Paragraph 143 contains Plaintiffs’ characterization of the

referenced statement and SB 202, not allegations of fact, to which no response

is required. By way of further response, Defendants respectfully refer the

Court to the referenced statements and the text of SB 202 for a full and

accurate statement of their contents and deny anything inconsistent

therewith.

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      144. Paragraph 144 contains Plaintiffs’ legal conclusions as well as

their characterization of SB 202, rather than allegations of fact, to which no

response is required. By way of further response, Defendants respectfully refer

the Court to the text of SB 202 for a full and accurate statement of its contents

and its provisions and deny any allegations inconsistent therewith.

      145. Paragraph 145 contains Plaintiffs’ legal conclusions as well as

their characterization of SB 202, rather than allegations of fact, to which no

response is required. By way of further response, Defendants respectfully refer

the Court to the text of SB 202 for a full and accurate statement of its contents

and its provisions and deny any allegations inconsistent therewith.

      146. Defendants admit the that Plaintiffs accurately quote SB 202 in

the first sentence of Paragraph 146. The second sentence contains Plaintiffs’

characterization of the cited report, not allegations of fact, to which no response

is required. By way of further response, Defendants respectfully refer the

Court to the cited report for a full and accurate statement of their contents and

deny any allegations inconsistent therewith.

      147. The first sentence of Paragraph 147 contains Plaintiffs’ argument,

not allegations of fact, to which no response is required. Defendants lack

sufficient knowledge or information with which to form a belief as to the truth

of the allegations contained in the second and third sentences of this

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paragraph. The final sentence contains Plaintiffs’ characterization of the cited

statistics, not allegations of fact, to which no response is required. By way of

further response, Defendants respectfully refer the Court to those statistics for

a full and accurate statement of their contents and deny any allegations

inconsistent therewith.

      148. Defendants deny the allegations contained in the first sentence of

Paragraph 148, and further state that Defendants do not “structure” voting

precincts, which is a county responsibility.        Defendants lack sufficient

knowledge or information with which to form a belief as to the truth of the

remaining allegations contained in this paragraph.

      149. Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in the first two

sentences of Paragraph 149. Defendants further state that counties operate

voting precincts. The last sentence contains Plaintiffs’ characterization of the

cited “national study,” not allegations of fact, to which no response is required.

By way of further response, Defendants respectfully refer the Court to that

study for a full and accurate statement of its contents and deny any allegations

inconsistent therewith.

      150. Defendants deny the allegations contained in Paragraph 150.




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      151. Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 151.

Defendants further state that counties operate voting precincts. By way of

further response, Defendants respectfully refer the Court to the cited article

for a full and accurate statement of its contents and deny any allegation

inconsistent therewith.

      152. Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 152.

      153. Defendants deny that “state officials allow these lines to occur year

after year.” Defendants lack sufficient knowledge or information with which

to form a belief as to the truth of the remaining allegations contained in

Paragraph 153.

      154. Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 154.

      155. Defendants deny the allegations contained in Paragraph 155.

        SB 202 Invalidates Out-of-Precinct Provisional Ballots

      156. Paragraph 156 contains Plaintiffs’ legal conclusions as well as

their characterization of SB 202, rather than allegations of fact, to which no

response is required.     To the extent a response is deemed necessary,

Defendants deny Plaintiffs’ conclusions and characterization.       By way of

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further response, Defendants respectfully refer the Court to the text of SB 202

for a full and accurate statement of its contents and its provisions and deny

any allegations inconsistent therewith.

      157. Defendants admit the allegations contained in Paragraph 157.

      158. Defendants deny that SB 202 disenfranchises voters. The

remainder of Paragraph 158 contains Plaintiffs’ legal conclusions as well as

their characterization of SB 202, rather than allegations of fact, to which no

response is required. By way of further response, Defendants respectfully refer

the Court to the text of SB 202 for a full and accurate statement of its contents

and its provisions and deny any allegations inconsistent therewith.

      159. Paragraph 159 contains Plaintiffs’ legal conclusions as well as

their characterization of SB 202, rather than allegations of fact, to which no

response is required. By way of further response, Defendants respectfully refer

the Court to the text of SB 202 for a full and accurate statement of its contents

and its provisions and deny any allegations inconsistent therewith.

      160. Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 160.

      161. This first two sentences of Paragraph 161 contain Plaintiffs’

characterization of population data, not allegations of fact, to which no

response is required. By way of further response, Defendants respectfully refer

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the Court to the cited data for a full and accurate statement of their contents

and deny any allegations inconsistent therewith.         Defendants deny the

allegations contained in the final sentence of this paragraph.

      162. Defendants deny the allegations contained in Paragraph 162.

 SB 202 Allows Unlimited Challenges to the Qualifications of Voters

      163. Paragraph 163 contains Plaintiffs’ legal conclusions as well as

their characterization of SB 202, rather than allegations of fact, to which no

response is required. By way of further response, Defendants respectfully refer

the Court to the text of SB 202 for a full and accurate statement of its contents

and its provisions and deny any allegations inconsistent therewith.

      164. Defendants deny the allegations contained in Paragraph 164.

      165. Defendants deny the allegations contained in Paragraph 165.

    SB 202 Permits the State Election Board to Take Over County
                      Election Administration

      166. Paragraph 166 contains Plaintiffs’ legal conclusions as well as

their characterization of SB 202, rather than allegations of fact, to which no

response is required. By way of further response, Defendants respectfully refer

the Court to the text of SB 202 for a full and accurate statement of its contents

and its provisions and deny any allegations inconsistent therewith.




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      167. Paragraph 167 contains Plaintiffs’ legal conclusions as well as

their characterization of SB 202, rather than allegations of fact, to which no

response is required. By way of further response, Defendants respectfully refer

the Court to the text of SB 202 for a full and accurate statement of its contents

and its provisions and deny any allegations inconsistent therewith.

      168. Paragraph 168 contains Plaintiffs’ legal conclusions as well as

their characterization of SB 202, rather than allegations of fact, to which no

response is required. By way of further response, Defendants respectfully refer

the Court to the text of SB 202 for a full and accurate statement of its contents

and its provisions and deny any allegations inconsistent therewith.

      169. Paragraph 169 contains Plaintiffs’ legal conclusions as well as

their characterization of SB 202 and the cited case, rather than allegations of

fact, to which no response is required. By way of further response, Defendants

respectfully refer the Court to the text of SB 202 and the cited text for a full

and accurate statement of their contents and deny any allegations inconsistent

therewith.

      170. Paragraph 170 contains Plaintiffs’ characterization of statements

made by Secretary Raffensperger, not allegations of fact, to which no response

is required. By way of further response, Defendants respectfully refer the




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Court to the cited statements for a full and accurate statement of their contents

and deny any allegations inconsistent therewith.

      171. Paragraph 171 contains Plaintiffs’ characterization of statements

made by Secretary Raffensperger, not allegations of fact, to which no response

is required. By way of further response, Defendants respectfully refer the

Court to the cited statements for a full and accurate statement of their contents

and deny any allegations inconsistent therewith.

      172. Paragraph      172   contains     Plaintiffs’   legal   conclusions    and

characterization of SB 202, not allegations of fact, to which no response is

required. By way of further response, Defendants respectfully refer the Court

to the cited authority for a full and accurate statement of their contents and

deny any allegations inconsistent therewith.

                     FIRST CLAIM FOR RELIEF
            Violation of Section 2 of the Voting Rights Act
                       52 U.S.C. § 10301, et seq.
    (Intentional Racial Discrimination & Discriminatory Results)

      173. Defendants incorporate by reference and reallege their responses

to Plaintiffs’ preceding allegations as if fully restated herein.

      174. Paragraph      174   contains     Plaintiff’s   legal   conclusions,   not

allegations of fact, to which no response is required.




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      175. Paragraph      175   contains     Plaintiff’s   legal    conclusions,   not

allegations of fact, to which no response is required.

      176. Paragraph 176 contains Plaintiffs’ characterization of SB 202, not

allegations of fact, to which no response is required.             By way of further

response, Defendants respectfully refer the Court to the text of SB 202 for a

full and accurate statement of its contents and deny any allegations

inconsistent therewith.

      177. Paragraph      177   contains     Plaintiffs’   legal    conclusions,   not

allegations of fact, to which no response is required. To the extent a response

is deemed necessary, Defendants deny the allegations contained in this

paragraph.

      178. Paragraph      178   contains     Plaintiffs’   legal    conclusions,   not

allegations of fact, to which no response is required. To the extent a response

is deemed necessary, Defendants deny the allegations contained in this

paragraph.

                      SECOND CLAIM FOR RELIEF
                         Fourteenth Amendment
                 U.S. Const. amend., XIV; 42 U.S.C. § 1983
                    (Intentional Race Discrimination)

      179. Defendants incorporate by reference and reallege their responses

to Plaintiffs’ preceding allegations as if fully restated herein.



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      180. Paragraph 180 contains Plaintiffs’ legal conclusions and

characterization of this action, not allegations of fact, to which no response is

required. By way of further answer, Defendants respectfully refer this Court

to the cited authority for a full and accurate statement of its contents and deny

any allegations inconsistent therewith.

      181. Paragraph 181 contains Plaintiffs’ legal conclusions, not

allegations of fact, to which no response is required. To the extent a response

is deemed necessary, Defendants deny the allegations contained in this

paragraph.

      182. Paragraph 182 contains Plaintiffs’ legal conclusions, not

allegations of fact, to which no response is required. To the extent a response

is deemed necessary, Defendants deny the allegations contained in this

paragraph.

      183. Paragraph 183 contains Plaintiffs’ legal conclusions and

characterization of this action, not allegations of fact, to which no response is

required. By way of further answer, Defendants respectfully refer this Court

to the text of the cited authority for a full and accurate statement of its contents

and deny any allegations inconsistent therewith.

      184. Paragraph 184 contains Plaintiffs’ legal conclusions, not

allegations of fact, to which no response is required. To the extent a response

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is deemed necessary, Defendants deny the allegations contained in this

paragraph.

                       THIRD CLAIM FOR RELIEF
                          Fifteenth Amendment
                  U.S. Const. amend., XV; 42 U.S.C. § 1983
               (Intentional Race Discrimination in Voting)

      185. Defendants incorporate by reference and reallege their responses

to Plaintiffs’ preceding allegations as if fully restated herein.

      186. Paragraph 186 contains Plaintiff’s legal conclusions, not

allegations of fact, to which no response is required. By way of further

response, Defendants respectfully refer the Court to the cited authority for a

full and accurate statement of their contents and deny any allegations

inconsistent therewith.

      187. Paragraph 187 contains Plaintiff’s legal conclusions, not

allegations of fact, to which no response is required. By way of further

response, Defendants respectfully refer the Court to the cited authority for a

full and accurate statement of their contents and deny any allegations

inconsistent therewith.

      188. Paragraph 188 contains Plaintiff’s legal conclusions and

characterizations of the cited cases, not allegations of fact, to which no

response is required. By way of further response, Defendants respectfully refer



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the Court to the cited authority for a full and accurate statement of their

contents and deny any allegations inconsistent therewith.

      189. Paragraph 189 contains Plaintiffs’ legal conclusions, not

allegations of fact, to which no response is required. To the extent a response

is deemed necessary, Defendants deny the allegations contained in this

paragraph.

                      FOURTH CLAIM FOR RELIEF
                   First and Fourteenth Amendments
                 U.S. Const. amend. XIV; 42 U.S.C. § 1983
                  (Undue Burden on the Right to Vote)

      190. Defendants incorporate by reference and reallege their responses

to Plaintiffs’ preceding allegations as if fully restated herein.

      191. Paragraph      191   contains     Plaintiff’s   legal   conclusions,   not

allegations of fact, to which no response is required. By way of further

response, Defendants respectfully refer the Court to the cited authority for a

full and accurate statement of their contents and deny any allegations

inconsistent therewith.

      192. Paragraph      192   contains     Plaintiff’s   legal   conclusions    and

characterizations of the cited cases, not allegations of fact, to which no

response is required. By way of further response, Defendants respectfully refer




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the Court to the cited authority for a full and accurate statement of their

contents and deny any allegations inconsistent therewith.

      193. Paragraph      193   contains     Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required. To the extent a response

is deemed necessary, Defendants deny the allegations contained in this

paragraph. By way of further response, Defendants respectfully refer the

Court to the cited authority for a full and accurate statement of their contents

and deny any allegations inconsistent therewith.

      194. Paragraph      194   contains     Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required. To the extent a response

is deemed necessary, Defendants deny the allegations contained in this

paragraph.

                       FIFTH CLAIM FOR RELIEF
                     Freedom of Speech / Expression
                   U.S. Const. amend. I; 42 U.S.C. § 1983

      195. Defendants incorporate by reference and reallege their responses

to Plaintiffs’ preceding allegations as if fully restated herein.

      196. Paragraph      196   contains     Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required. To the extent a response

is deemed necessary, Defendants deny the allegations contained in this

paragraph.

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                       SIXTH CLAIM FOR RELIEF
             Title II of the Americans with Disabilities Act,
                          42 U.S.C. § 12131 et seq.
         (Discrimination Against Individuals with Disabilities)

      197. Defendants incorporate by reference and reallege their responses

to Plaintiffs’ preceding allegations as if fully restated herein.

      198. Paragraph      198   contains     Plaintiff’s   legal   conclusions,   not

allegations of fact, to which no response is required. By way of further

response, Defendants respectfully refer the Court to the cited authority for a

full and accurate statement of their contents and deny any allegations

inconsistent therewith.

      199. Paragraph      199   contains     Plaintiff’s   legal   conclusions,   not

allegations of fact, to which no response is required. By way of further

response, Defendants respectfully refer the Court to the cited authority for a

full and accurate statement of their contents and deny any allegations

inconsistent therewith.

      200. Paragraph      200   contains     Plaintiff’s   legal   conclusions,   not

allegations of fact, to which no response is required. By way of further

response, Defendants respectfully refer the Court to the cited authority for a

full and accurate statement of their contents and deny any allegations

inconsistent therewith.



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      201. Paragraph      201   contains    Plaintiff’s   legal   conclusions,   not

allegations of fact, to which no response is required. By way of further

response, Defendants respectfully refer the Court to the cited authority for a

full and accurate statement of their contents and deny any allegations

inconsistent therewith.

      202. Paragraph      202   contains    Plaintiff’s   legal   conclusions,   not

allegations of fact, to which no response is required. To the extent a response

is deemed necessary, Defendants deny the allegations contained in this

paragraph.

      203. Defendants deny the allegations contained in Paragraph 203.

      204. Defendants lack sufficient knowledge of Plaintiffs’ members and/or

constituents to form a belief about their medical conditions. The remainder of

Paragraph 204 contains Plaintiff’s legal conclusions, not allegations of fact, to

which no response is required. By way of further response, Defendants deny

that SB 202 will impact individuals with disabilities.

      205. Paragraph 205 contains Plaintiffs’ characterization of SB 202,

rather than allegations of fact, to which no response is required. To the extent

a response is deemed necessary, Defendants deny Plaintiffs’ characterization.

By way of further response, Defendants respectfully refer the Court to the text




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of SB 202 for a full and accurate statement of its contents and its provisions

and deny any allegations inconsistent therewith.

      206. Paragraph     206   contains    Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required. To the extent a response

is deemed necessary, Defendants deny the allegations contained in this

paragraph.

      207. Paragraph     207   contains    Plaintiffs’   legal   conclusions,   not

allegations of fact, to which no response is required. To the extent a response

is deemed necessary, Defendants deny the allegations contained in this

paragraph.

                          PRAYER FOR RELIEF

      The remaining portions of Plaintiffs’ Compliant contain its request for

relief, to which no response is required. To the extent a response is deemed

necessary, Defendants deny that Plaintiffs are entitled to any relief they seek.

      Respectfully submitted this 21st day of January, 2022.

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                    CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the

foregoing document has been prepared in Century Schoolbook 13, a font and

type selection approved by the Court in L.R. 5.1(B).

                                          /s/ Gene C. Schaerr
                                          Gene C. Schaerr
